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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


BAKER MAYFIELD, EMILY MAYFIELD,
and TEAM BRM, LLC,

               Plaintiffs,

                                                         Civil No. 1:24-cv-01455-DAE
v.

CAMWOOD CAPITAL MANAGEMENT
GROUP, LLC, TEXAS CONTRACT
MANUFACTURING GROUP, INC.,
UNITECH TOOL & MACHINE, INC., APEX
MACHINING, INC., and LOR-VAN
MANUFACTURING, INC.,

               Defendants.


                 NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
                     FEDERAL RULE OF CIVIL PROCEDURE 41

       Plaintiffs, through the undersigned counsel, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), give notice that the above-captioned action is voluntarily dismissed, without

prejudice, against Defendants, with each party to bear his, her, or its own costs, expenses, and fees

(including attorneys’ fees).
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                                                Respectfully submitted,

                                                BAKER MAYFIELD, EMILY
                                                MAYFIELD, and TEAM BRM, LLC



                                                By: /s/ Arianna G. Goodman
                                                            Arianna G. Goodman

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Attorneys for Baker Mayfield, Emily
Mayfield, and Team BRM, LLC

Dated: March 10, 2025




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